                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF MISSOURI
                          ST. JOSEPH DIVISION

KAREN BACKUES KEIL,                     )
                                        )
                     Plaintiff,         )
                                        )
       v.                               )       Case No.:   5:18-CV-06074-BP
                                        )
MHM SERVICES, INC., et al.,             )
                                        )
                     Defendants.        )

   Defendant’s Petition for Writ of Habeas Corpus ad Testificandum

       Defendant Edward Bearden requests this Court to issue a Writ of Habeas

Corpus ad Testificandum for Delila Clay and Maya Gasa. In support,

Defendant states:

  1.        Plaintiffs filed this action under 42 U.S.C. §1983, alleging that

            Defendant Bearden sexually assaulted each of them at Chillicothe

            Correctional Center.

  2.        Trial in this matter is set to begin the week of January 31, 2022, and

            to continue through February 11, 2022.

  3.        At trial, Defendant Bearden intends to present testimony from Ms.

            Clay and Ms. Gasa, who both worked in the recreation building at

            Chillicothe Correctional Center with Ms. Keil.

  4.        This Court has the authority and discretion to issue a writ of habeas

            corpus ad testificandum where an inmate-witness’s testimony is
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      relevant and necessary to the pending action. See 28 U.S.C. §§ 1651(a)

      and 2241(c)5).

5.    Delila Clay, offender number 1008213, is currently confined at

      Chillicothe Correctional Center.

6.    Ms. Clay worked in the recreation building with Ms. Keil, and Ms.

      Keil has identified Ms. Clay as a witness to a sexually inappropriate

      incident with Mr. Bearden. Mr. Bearden expects that Ms. Clay will

      testify that she did not witness anything sexual or physical occur

      between Mr. Bearden and Ms. Keil when she worked or even lived

      with Ms. Keil.

7.    Ms. Clay’s testimony is therefore relevant and necessary to this

      action.

8.    Maya Gasa, offender number 1209715, is currently confined at

      Women’s Eastern Reception, Diagnostic, and Correctional Center.

9.    Ms. Gasa worked in the recreation building with Ms. Keil. Mr.

      Bearden expects that Ms. Gasa will testify that Ms. Keil made

      statements about making PREA allegations when she got out of prison

      as early as 2012.

10.   Ms. Gasa’s testimony is therefore relevant and necessary to this

      action.



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      For these reasons, Defendant Bearden respectfully requests that the

Clerk of Court be directed to issue a certified Writ of Habeas Corpus ad

Testificandum commanding the Missouri Department of Corrections,

Chillicothe Correctional Center, Warden Chris McBee, to produce Delila Clay

offender number 1008213, in the United States District Courthouse in Kansas

City, Missouri, on January 31, 2022, and continuing for such time as necessary,

and that the Clerk of the Court be further directed to issue a certified Writ of

Habeas Corpus ad Testificandum, commanding the Missouri Department of

Corrections, Women’s Eastern Reception, Diagnostic, and Correctional Center,

Warden Angela Mesmer, to produce Maya Gasa, offender number 1209715, in

the United States District Courthouse in Kansas City, Missouri, on January

31, 2022, and continuing for such time as necessary..

                               Respectfully submitted,

                               ERIC S. SCHMITT
                               Attorney General

                               /s/ Nicolas Taulbee
                               Nicolas Taulbee
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                               Attorneys for Defendant Bearden



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                             Certificate of Service

      I hereby certify that on January 4, 2021, I filed the foregoing

electronically with the Clerk of Court to be served by operation of the Court’s

electronic filing system upon all counsel of record.


                                     /s/ Nicolas Taulbee
                                     Assistant Attorney General




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